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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7        KYO HAK CHU,                                     Case No. 21-cv-00312-HSG
                                   8                    Plaintiff,                           ORDER DENYING ADMINISTRAIVE
                                                                                             MOTION TO RELATE CASES
                                   9             v.
                                                                                             Re: Dkt. No. 17
                                  10        ZECHSAN BUSINESS DEVELOPMENT,
                                            INC.,
                                  11
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




                                  13           Before the Court is an administrative motion to consider whether the following cases filed

                                  14   in this District are related to the above-captioned matter:

                                  15              CASE NAME                       CASE NO.              DATE              JUDGE
                                  16                                                                    FILED
                                        Chu v. Furla (U.S.A.), Inc. et al     3:21-cv-00195-LB       January 8,     Magistrate Judge
                                  17                                                                 2021           Laurel Beeler
                                  18    Chu v. L’Oreal USA S/D, Inc. et       3:21-cv-00471-         January 20,    Judge Edward M.
                                        al                                    EMC                    2021           Chen
                                  19
                                        Chu v. Atlantic Richfield             4:21-cv-00688-         January 8,     Judge Haywood S.
                                  20    Company                               HSG                    2021           Gilliam, Jr.
                                  21    Chu v. Pat Kuleto Restaurant          3:21-cv-01426-SK       February 26,   Magistrate Judge
                                        Development & Management                                     2021           Sallie Kim
                                  22    Company
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                                           Case 3:21-cv-00471-EMC Document 24 Filed 10/27/21 Page 2 of 2




                                   1          Under Civil Local Rule 3-12(a), “[a]n action is related to another when: (1) [t]he actions

                                   2   concern substantially the same parties, property, transaction or event; and (2) [i]t appears likely

                                   3   that there will be an unduly burdensome duplication of labor and expense or conflicting results if

                                   4   the cases are conducted before different Judges.” Civ. L.R. 3-12(a). Defendant contends that the

                                   5   above-captioned action and the four other cases “require determination of substantially the same

                                   6   questions of fact and law” because they “involve the same Plaintiff and concern the same alleged

                                   7   wrongful occurrences, namely, violations of the Americans with Disabilities Act of 1990, and

                                   8   violations of the Unruh Civil Rights Act.” See Dkt. No. 17 at 3.

                                   9          The Court disagrees. As the captions indicate, the five cases Defendant seeks to relate all

                                  10   concern different defendants and therefore do not involve the same parties. Defendant also

                                  11   provides no basis to conclude that the actions concern substantially the same property, transaction,

                                  12   or event, and the Court sees none given the diverse types of businesses represented among the
Northern District of California
 United States District Court




                                  13   defendants. Therefore, to the extent Defendant moves to relate any higher-numbered cases to the

                                  14   above-captioned matter, the motion is DENIED.1

                                  15          IT IS SO ORDERED.

                                  16   Dated: 10/27/2021

                                  17                                                    ______________________________________
                                                                                        HAYWOOD S. GILLIAM, JR.
                                  18                                                    United States District Judge
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                                        Defendant’s request to relate Chu v. Furla (U.S.A.), Inc. to the above-captioned matter is
                                       improper under Civil Local Rule 3-12(b), which requires Defendant to file an administrative
                                  28   motion to relate cases in the lowest-numbered case it contends is related. Civ. L.R. 3-12(b).

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